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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                          *            CRIMINAL ACTION NO: 17-201
                                                  *
VERSUS                                            *            SECTION I
                                                  *
LILBEAR GEORGE ET AL.                             *
                                                  *

                           REQUEST FOR ORAL ARGUMENT

       CHUKWUDI OFOMATA respectfully requests oral argument on his Motion and

Incorporated Memorandum to Compel Discovery, R. Doc. 1359, noticed for hearing on April 28,

2021 at 11:00 a.m. The government has not furnished many materials required under Federal

Rule of Criminal Procedure 16(a)(1)(A)-(F). Oral argument will assist Mr. Ofomata in making a

record on the issue. It will likely assist the Court as well in determining whether the motion

should be granted.

                                     Respectfully submitted,



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                               CERTIFICATE OF SERVICE

        I hereby certify that a that a true and correct copy of the foregoing document has been
filed with the Clerk of the Court by using the CM/ECF System which will send a notice of
electronic filing to all counsel of record on this 12th day of April, 2021.


                                           s/ Sarah L. Ottinger_____
                                           Sarah L. Ottinger




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